       Case: 5:17-cr-00493-JG Doc #: 72 Filed: 06/06/18 1 of 2. PageID #: 398




                            IN THE UNITED STATES DISTRICT COURT

                            FOR THE NORTHERN DISTRICT OF OHIO

                                     EASTERN DIVISION


UNITED STATES OF AMERICA,                        )   CASE NO.: 5:17CR00493-003
                                                 )
               Plaintiff,                        )   JUDGE JAMES S. GWIN
                                                 )
       v.                                        )
                                                 )
THOMAS LORENZ,                                   )   DEFENDAN’T REQUEST TO FILE
                                                 )   SENTENCING MEMORANDUM
               Defendant.                        )   UNDER SEAL

       Now comes the defendant, by and through counsel, and hereby respectfully requests an

Order from this Honorable Court granting the instant request to file his sentencing memorandum

under seal. The grounds for this request are further set out in the attached memorandum.



                                                     /s/: Erik E. Jones
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                                       MEMORANDUM

       The defendant makes this request due to the sensitive and confidential information

contained in his sentencing memorandum. Additionally, the government does not object to this

motion. Lastly, the defendant maintains that the need for sealing outweighs the public interest in

this matter.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on this 6th day of

June, 2018. Notice of this filing will be sent by operation of the Court’s electronic filing system

to all parties indicated on the electronic filing receipt. All other parties will be served by regular

U.S. mail. Parties may access this filing through the Court’s system.

                                                      Respectfully submitted,


                                                      /s/ Erik E. Jones
                                                      Erik E. Jones, Esq.
